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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          ED CV 20-1056 PA (SHKx)                                        Date   June 30, 2020
 Title             Securities and Exchange Commission v. Paul Horton Smith, et al.




 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                      T. Jackson-TEL                                      Anne Kielwasser-TEL
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      David Brown-TEL                                Paul Horton Smith, Pro Se-TEL
                     John Bulgozdy-TEL
 Proceedings:                 ORDER TO SHOW CAUSE (TELEPHONIC)


              Cause called; appearances made. Court and counsel confer regarding the case. The order
to show cause hearing is continued to July 8, 2020, at 1:30 p.m.


                    IT IS SO ORDERED.




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                                                               Initials of Preparer                  TJ


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